                  UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

IN RE:                                          Case No. 20-51066-mar

HFV LIQUIDATING TRUST,                          Chapter 11
                     Debtor.                    Honorable Mark A. Randon



               ORDER SUSTAINING FOURTH OMNIBUS
         OBJECTION OF THE HFV LIQUIDATING TRUST TO
      (A) AMENDED OR SUPERSEDED CLAIMS, (B) DUPLICATE
   CLAIMS, (C) NO LIABILITY CLAIMS, AND (D) SATISFIED CLAIMS

         Upon the objection (the “Fourth Objection”) of the HFV Liquidating Trust

(the “Trust”), for entry of an order (this “Order”), (a) disallowing the Claims as set

forth on Schedules 1−4 attached hereto, all as more fully set forth in the Fourth

Objection; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334; and that this Court may enter a final order consistent with Article

III of the United States Constitution; and this Court having found that venue of this

proceeding and the Objection in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Fourth

Objection is in the best interests of the Trust, its creditors, and other parties in

interest; and this Court having found that the Trust’s notice of the Fourth Objection

and opportunity for a hearing on the Fourth Objection were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed


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the Fourth Objection and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court

having determined that the legal and factual bases set forth in the Fourth Objection

and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings held before this Court; and after due deliberation and sufficient

cause appearing therefor, it is HEREBY ORDERED THAT:

         1.   The Fourth Objection is sustained as set forth herein.

         2.   The Amended Claims set forth on the attached Schedule 1 are hereby

disallowed and expunged in their entirety; provided that this Order will not affect

the Proofs of Claim identified on Schedule 1 attached hereto in the column titled

“Remaining Claims.”

         3.   The Duplicate Claims set forth on the attached Schedule 2 are hereby

disallowed and expunged in their entirety; provided that this Order will not affect

the Proofs of Claim identified on Schedule 2 attached hereto in the column titled

“Remaining Claims.”

         4.   The No Liability Claims set forth on Schedule 3 are disallowed and

expunged in their entirety.

         5.   The Satisfied Claims set forth on Schedule 4 are disallowed and

expunged in their entirety.




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         6.   Each objection by the Trust to each Claim addressed in the Fourth

Objection as identified in Schedules 1–4 constitutes a separate contested matter as

contemplated by Bankruptcy Rule 9014. This Order shall be deemed a separate

order with respect to each Claim. Any stay of this Order pending appeal by any

claimant subject to this Order shall only apply to the contested matter that involves

such claimant and shall not act to stay the applicability or finality of this Order with

respect to the other contested matters covered hereby.

         7.   The Trust’s claims agent is authorized and directed to modify the

Claims Register in accordance with entry of the relief granted in this Order.

         8.   Nothing in this Order shall affect the Trust’s right to object to the

Claims or any other Proofs of Claim at a future date on any basis.

         9.   Notwithstanding the relief granted in this Order and any actions taken

pursuant to such relief, nothing in this Order shall be deemed: (a) an admission as to

the validity, priority, or amount of any particular claim; (b) a waiver of the Trust’s

right to dispute any particular claim on any grounds; (c) a promise or requirement to

pay any particular claim; (d) an implication or admission that any particular claim is

of a type specified or defined in this Order or the Fourth Objection; (e) a request or

authorization to assume any agreement, contract, or lease pursuant to section 365 of

the Bankruptcy Code; or (f) a waiver or limitation of the Trust’s rights under the

Bankruptcy Code or any other applicable law. Any payment made pursuant to this


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Order should not be construed as an admission as to the validity, priority, or amount

of any particular claim or a waiver of the Trust’s right to subsequently dispute such

claim.

         10.   The Trust is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Fourth Objection.

         11.   This Court retains exclusive jurisdiction with respect to all matters

arising from or related to the implementation, interpretation, and enforcement of this

Order.

Signed on July 25, 2022




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